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                                     TYRONE A. BLACKBURN
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                                           MEMBER OF
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                                  1242 East 80th Street, 3rd Floor
                                    Brooklyn, New York 11236
                                                                                      March 23, 2024
United States District Judge Denise L. Cote
Southern District Of New York
500 Pearl Street, Courtroom 18B
New York, New York 10007

                                           Re: Zunzurovski v. Fisher et al.; 1:23-cv-10881-DLC
Dear Judge Cote,

I respectfully submit this letter to supplement the letter I filed on March 21, 2024, which was a
response to the letter submitted by the Defendant's Counsel dated March 21, 2024. To illustrate
just how demonstrably false Defendant counsel's assertion that Plaintiff lived in the “adjacent
town” from Defendant Fisher, please see the map embedded below. Glen Ridge, New Jersey, is
in Essex County, while Tenafly, New Jersey, is in Bergen County. Secondly, at least eight towns
separate Tenafly and Glen Ridge. As evidenced by the map below, driving from Tenafly to Glen
Ridge will take at least 40 minutes.

I am writing this letter to illustrate the fact that people make mistakes. Do I think the Defendant's
counsel tried to intentionally deceive the Court by making a demonstrably false claim on the record
during the March 5, 2024, hearing and then doubling down on it in a letter dated March 21, 2024
– no, I do not. It is evident that she did not do her "due diligence" to ensure that the representation
she made before the Court on two occasions was correct. While an attorney may generally rely on
client representations, an attorney may not accept these representations at face value. In re Seare,
493 B.R. at 211. Rather, an attorney must independently verify publicly available facts to
determine whether such representations are objectively reasonable and to inquire further if the
attorney is unable to verify such facts. In re Parikh, 508 B.R. at 585-86. In re Hanson, No. 8-13-
73855-las, 2015 Bankr. LEXIS 607, at *16 (Bankr. E.D.N.Y. February 27, 2015).

Defendants Counsel is only human, and so am I. We will make mistakes.




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In the end, I respectfully ask that the Court be fair and balanced. If Your Honor is inclined to
sanction me for committing an error as it relates to Defendant Fisher's domicile, even though I
provided the Court with the steps I took to ensure that I was correct concerning Defendant Fisher's
domicile before filing, then I ask that the Court be fair and balanced and sanction Defendants
Counsel for failing to do her due diligence before presenting demonstrably false information to the
Court during the March 5, 2024 hearing, and in her March 21, 2024 letter to the Court where she
doubled down on the claim that my client lived in the town adjacent to Defendant Fisher. The
same goes for the claim Defendant Counsel made concerning Defendant Fisher's kids and
Plaintiff's kids playing on the same sports team (claim made on the record during the March 5,
2024, hearing) or playing on rival sports teams (new claim in the March 21, 2024, letter), and
contradictory statements she made on the record concerning Plaintiff and Defendant Fisher, as
well as the selection of a Jams mediator.
                                                                            Respectfully submitted,

                                                                       Tyrone A. Blackburn, Esq.
Cc: counsel of record via ECF.




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